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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION
IN RE:
CASE NO. 3:11-bk-06916-JAF

John H. Brown, 01

and Catherine A. Brown,

Debtors.

NOTICE OF INTENTION TO SELL
PROPERTY OF THE ESTATE

NOTICE OF OPPORTUNITY TO OBJECT AND FOR HEARING

Pursuant to Local Rule 2002-4, the Court will consider this motion, objection, or other
matter without further notice or hearing unless a party in interest files an objection within 21
days from the date of service of this paper. If you object to the relief requested in this paper,
you must file your objection with the Clerk of the Court at 300 North Hogan St., Suite 3-350,
Jacksonville, FL 32202, and serve a copy on the movant or movant's attorney, Robert Altman,
P.O. Box 922, Palatka, FL 32178-0922,

If you file and serve an objection within the time permitted, the court will schedule a
hearing and you be notified. If you do not file an objection within the time permitted, the Court
will consider that you do not oppose the granting of the relief requested in the paper, will
proceed to consider the paper without further notice or hearing, and may grant the relief

requested.

NOTICE IS HEREBY GIVEN that the trustee intends to seil the following property, under the terms and
conditions set forth below.

1. Description of property:

Bankruptcy estate’s interest in property situate in St. Croix, USVI, more particularly
described as follows:

Plot No. 155 Estate Mary’s Fancy, Queen Quarter, consisting of approximately 0.477
US Acres, more or less, as more fully shown on OLG Drawing No. 2241, dated July

17, 1967, as revised on March 10, 1993,

The debtors held a one-quarter interest in the property, which interest is valued at
approximately $5,625.00.

Zz. Manner of Sale: Private (x)* Public Auction ()

3. Terms of Sale:

The property shall be sold to Ronald Bergwerk for $2,000.00 to be paid in a one-time
lump sum payment upon expiration of the 21 day notice period. Payment is by
cashier’s check or money order made payable to Robert Altman, Trustee, at P.O. Box
922, Palatka, FL 32178-0922. The trustee believes this sale to be in the best interest of
the estate. The trustee does not anticipate any tax consequence to this sale and a
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trustee’s deed will be issued.

4, The trustee reserves the right, without penalty, to withdraw this offer of sale at any time. This sale will not
become final until after the expiration of the 21 day objection period set forth above/or a favorable disposition
of any objections to the sale. The trustee, until the expiration of the time within which parties may object to the
proposed sale, will entertain any higher bids of the purchase of the asset(s) being sold. Any higher bid must be
accompanied by a deposit of twenty percent (20%) of the proposed higher purchase price. Any higher bid must
be received by the trustee at the address listed below no later than twenty-one (21) days from the date of this
notice. Should a higher bid be received, the trustee will conduct a telephone auction between the original
purchaser named in this notice and the additional bidder(s) at the earliest reasonable time.

ROBERT ALTMAN, P.A.

‘S/ Robert Altman

Robert Altman, Trustee
Florida Bar No. 346861
P.C. Box 922

Palatka, FL 32178-0922
(386) 325-4691

(386) 325-9765 Facsimile
